 Case 8:25-cv-00680-JDE       Document 1    Filed 04/04/25   Page 1 of 10 Page ID #:1



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 7

 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   MICHAEL C. KEO, an individual                Case No.: 8:25-cv-00680
12              Plaintiff,                        COMPLAINT FOR
13        vs.
                                                      (1) VIOLATION OF THE UNRUH
14   PHAM FAMILY, LLC, a limited                          CIVIL RIGHTS ACT
     liability company,
15                                                        (CALIFORNIA CIVIL CODE
                Defendants.                               §§ 51, 52);
16
                                                      (2) VIOLATIONS OF THE
17                                                        AMERICANS WITH
18                                                        DISABILITIES ACT OF 1990

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                                           COMPLAINT
 Case 8:25-cv-00680-JDE        Document 1      Filed 04/04/25     Page 2 of 10 Page ID #:2



 1                                               I.
                                              SUMMARY
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 3           1.    This is a civil rights action by plaintiff Michael C. Keo (“Plaintiff”) for
 4   discrimination at the building, structure, facility, complex, property, land,
 5   development, and/or surrounding business complex located 8432 Westminster Blvd.,
 6   Westminster, California 92683 where the business “Yummy Bakery” operates (the
 7   “Property”). Plaintiff frequents the area for dining, shopping and entertainment as he
 8   lives approximately 20 minutes from the Property. In this particular instance, Plaintiff
 9   desired to patronize the “Yummy Bakery” located on the property as he enjoys the
10   food offered at the business.
11           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
12   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
13   12101, et seq.) and related California statutes1 against the owner of the property
14   PHAM FAMILY, LLC, a limited liability company (“Defendant”).
15                                                   II.
16                                         JURISDICTION
17           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
18   for ADA claims.
19           4.    Supplemental jurisdiction for claims brought under parallel California
20   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
21   1367.
22           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
23                                               III.
24                                              VENUE
25           6.    All actions complained of herein take place within the jurisdiction of the
26   United States District Court, Central District of California, and venue is invoked
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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                                              COMPLAINT
 Case 8:25-cv-00680-JDE        Document 1      Filed 04/04/25   Page 3 of 10 Page ID #:3



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     pursuant to 28 U.S.C. § 1391(b), (c)
 2
                                                IV.
 3
                                              PARTIES
 4
           7.       On information and belief, Plaintiff alleges that Defendant is or was at
 5
     the time of the incident, the owner, operator, lessor and/or lessee of the Property, and
 6
     consist of a person (or persons), firm, company, and/or corporation.
 7
           8.       Plaintiff is a quadriplegic, and as a result is unable to walk or stand, and
 8
     thus requires a use of a motorized wheelchair at all times when traveling in public.
 9
     Plaintiff also uses a van accessible vehicle with a fold out ramp.     Plaintiff is
10
     “physically disabled” as defined by all applicable California and United States laws,
11
     and a member of the public whose rights are protected by these laws. Plaintiff is a
12
     resident of Orange County, California. Plaintiff is not considered a high frequency
13
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
14
     the twelve months preceding the filing of this complaint, Plaintiff filed three (3) other
15
     construction accessibility related claims (not including this one).
16
                                                V.
17
                                               FACTS
18
           9.       On February 20, 2025, Plaintiff patronized the Property. The Property is
19
     a sales or retail establishment, open to the public, which is intended for nonresidential
20
     use and whose operation affects commerce.
21
           10.      Plaintiff visited the Property and encountered barriers (both physical and
22
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
23
     enjoy the goods, services, privileges and accommodations offered at the facility. To
24
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
25
     to the following:
26
                 a. There are no accessible parking spaces that are designated for van
27
                    accessible parking. Specifically, there are no van accessible spaces that
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                                                     2
                                             COMPLAINT
 Case 8:25-cv-00680-JDE        Document 1       Filed 04/04/25   Page 4 of 10 Page ID #:4



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                    are of sufficient width and length to accommodate Plaintiff’s accessible
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                    van. Moreover, to the extent that such spaces exist, they are not properly
 3
                    marked with a van accessible sign. Without a proper sign indicating that
 4
                    a space can and will accommodate Plaintiff’s accessible van, Plaintiff
 5
                    does not know whether a space will accommodate his accessible van.
 6
                 b. The spaces designated as accessible do not have accompanying
 7
                    accessible access aisles; without an access aisle accompanying an
 8
                    accessible space, Plaintiff does not have room to transfer from his
 9
                    driver’s seat to his wheelchair making it difficult, if not impossible to exit
10
                    his vehicle.
11
                 c. To access the sidewalks and stores, Plaintiff must traverse up a built-up
12
                    curb ramp that is too steep. To the extent that the curb ramp is intended
13
                    to be a ramp, it does not have the necessary railings for Plaintiff to safely
14
                    maneuver up and down.
15
                 d. Parking spaces designated as accessible and accompanying access aisles
16
                    have slopes and/or cross slopes that exceed 2.0%. Without a level
17
                    parking space, it is difficult for Plaintiff to unload/transfer from a vehicle
18
                    as his wheelchair rolls.
19
           11.      These barriers to access are listed without prejudice to Plaintiff citing
20
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
21
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
22
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
23
     Property.
24
           12.      Plaintiff thus experienced difficulty and discomfort as a result of the
25
     accessible barriers he encountered. Although he would like to return to the Property
26
     to patronize the bakery at the Property, he continues to be deterred from visiting the
27
     Property because of the future threats of injury created by these barriers. Plaintiff
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                                                    3
                                               COMPLAINT
 Case 8:25-cv-00680-JDE        Document 1     Filed 04/04/25    Page 5 of 10 Page ID #:5



 1
     often frequents the area as he lives close to the Property and the area is known and
 2
     popular for Asian food that Plaintiff enjoys. Plaintiff would return to the Property
 3
     once the barriers have been corrected because he enjoys the store located on the
 4
     Property. Within 6-12 months of the barriers being corrected, Plaintiff would return
 5
     to the Property to ensure that accessible barriers have been properly removed but also
 6
     to patronize the business on the Property.
 7
              13.   On information and belief, Plaintiff alleges that Defendant knew that
 8
     these elements and areas of the Property were inaccessible, violate state and federal
 9
     law, and interfere with (or deny) access to the physically disabled. Moreover,
10
     Defendant has the financial resources to remove these barriers from the Property
11
     (without much difficult or expense), and make the Property accessible to the
12
     physically disabled. To date, however, the Defendant refuses to remove those
13
     barriers.
14
              14.   On information and belief, Plaintiff alleges that at all relevant times,
15
     Defendant has possessed and enjoyed sufficient control and authority to modify the
16
     Property to remove impediments to wheelchair access and to comply with the
17
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
18
     Defendant has not removed such impediments and have not modified the Property to
19
     conform to accessibility standards.
20
        VI.      FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
21
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
22
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
23
                                       CODE SECTION 51(f)
24
              15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
25
     14 for this claim and incorporates them herein.
26
              16.   At all times relevant to this complaint, California Civil Code § 51 has
27
     provided that physically disabled persons are free and equal citizens of the state,
28
                                                   4
                                             COMPLAINT
 Case 8:25-cv-00680-JDE        Document 1      Filed 04/04/25   Page 6 of 10 Page ID #:6



 1
     regardless of disability or medical condition:
 2
             All persons within the jurisdiction of this state are free and equal, and
 3
             no matter what their sex, race, color, religion, ancestry, national
 4
             origin, disability, or medical condition are entitled to the full and
 5
             equal accommodations, advantages, facilities, privileges, or services
 6
             in all business establishments of every kind whatsoever. Cal. Civ.
 7
             Code § 51(b).
 8
             17.    California Civil Code § 52 provides that the discrimination against
 9
     Plaintiff on the basis of his disabilities constitutes a violation of the anti-
10
     discrimination provisions of §§ 51 and 52.
11
             18.   Defendant’s discrimination constitutes a separate and distinct violation of
12
     California Civil Code § 52 which provides that:
13
             Whoever denies, aids or incites a denial, or makes any discrimination
14
             or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
15
             every offense for the actual damages, and any amount that may be
16
             determined by a jury, or a court sitting without a jury, up to a
17
             maximum of three times the amount of actual damage but in no case
18
             less than four thousand dollars ($4,000) and any attorney’s fees that
19
             may be determined by the court in addition thereto, suffered by any
20
             person denied the rights provided in Section 51, 51.5 or 51.6.
21
             19.   Plaintiff continues to be deterred from visiting the Subject Property based
22
     upon the existence of the accessible barriers. In addition to the instance of
23
     discrimination occurring in March 2024, Plaintiff is entitled to $4,000.00 in statutory
24
     damages for each additional occurrence of discrimination under California Civil Code
25
     § 52.
26
             20.   Any violation of the Americans with Disabilities Act of 1990 (as pled in
27
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
28
                                                   5
                                             COMPLAINT
 Case 8:25-cv-00680-JDE        Document 1    Filed 04/04/25    Page 7 of 10 Page ID #:7



 1
     thus independently justifying an award of damages and injunctive relief pursuant to
 2
     California law. Per § 51(f), “[a] violation of the right of any individual under the
 3
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
 4
     section.”
 5
           21.    The actions and omissions of Defendant as herein alleged constitute a
 6
     denial of access to and use of the described public facilities by physically disabled
 7
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
 8
     result of Defendant’s action and omissions Defendant has discriminated against
 9
     Plaintiff in a violation of Civil Code §§ 51 and 51.
10
                                               VII.
11
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
12
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
13
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
14
     21 for this claim and incorporates them herein.
15
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
16
     Congress passed “Title III – Public Accommodations and Services Operated by
17
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
18
     entities” which are considered “public accommodations” for purposes of this title,
19
     which includes any “restaurant, bar, or other sales or rental establishment serving food
20
     or drink.” § 301(7)(B).
21
           24.    The ADA states that “[n]o individual shall be discriminated against on
22
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
23
     privileges, advantages, or accommodations of any place of public accommodation by
24
     any person who owns, leases, or leases to, or operates a place of public
25
     accommodation.” 42 U.S.C. § 12182.
26
           25.    The acts and omissions of Defendant set forth herein were in violation of
27
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
28
                                                  6
                                            COMPLAINT
 Case 8:25-cv-00680-JDE       Document 1     Filed 04/04/25   Page 8 of 10 Page ID #:8



 1
     Part 36 et seq.
 2
           26.    On information and belief, Plaintiff alleges that the Property was
 3
     constructed or altered after January 26, 1993 thus triggering requirements for removal
 4
     of barriers to access for disabled persons under § 303 of the ADA. Further on
 5
     information and belief, Plaintiff alleges that removal of each of the barriers
 6
     complained of by Plaintiff as hereinabove alleged, were at all times herein mentioned
 7
     "readily achievable" under the standards §§ 30 l and 302 of the ADA. As noted
 8
     hereinabove, removal of each and every one of the architectural barriers complained
 9
     of herein were also required under California law. In the event that removal of any
10
     barrier is found to be "not readily achievable," Defendant still violated the ADA, per§
11
     302(b )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
12
     accommodations through alternative methods that were readily achievable.
13
           27.    On information and belief, as of the date of Plaintiff’s encounter at the
14
     Property and as of the filing of this Complaint, the Defendant denies and continues to
15
     deny full and equal access to Plaintiff and to other disabled persons, including
16
     wheelchair users, in other respects, which violate plaintiff's rights to full and equal
17
     access and which discriminate against Plaintiff on the basis of his disability, thus
18
     wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
19
     facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
20
     of the ADA. 42 USC§§ 12182 and 12183.
21
           28.    On information and belief, Defendant has continued to violate the law
22
     and deny the rights of Plaintiff and other disabled persons to access this public
23
     accommodation since on or before Plaintiff's encounters, as previously noted.
24
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
25
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
26
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
27
     in violation of the ADA or has reasonable grounds for believing that he is about to be
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                                                  7
                                           COMPLAINT
 Case 8:25-cv-00680-JDE        Document 1     Filed 04/04/25    Page 9 of 10 Page ID #:9



 1
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
 2
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
 3
     make such facilities readily accessible to and usable by individuals with disabilities to
 4
     the extent required by this title."
 5
              29.   Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
 6
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
 7
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
 8
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
 9
     to discrimination on the basis of disability in violation of Title III and who has
10
     reasonable grounds for believing he will be subjected to such discrimination each time
11
     that he may attempt to use the property and premises.
12
                                              PRAYER
13
              WHEREFORE, Plaintiff prays that this court award damages and provide relief
14
     as follows:
15
        1. Issue a preliminary and permanent injunction directing Defendant as current
16
     owner, operator, lessor, and/or lessee of the property and premises to modify the
17
     above described property and premises and related facilities so that each provides full
18
     and equal access to all persons, including but not limited to persons with physical
19
     disabilities who use wheelchairs, and issue a preliminary and permanent injunction
20
     directing Defendant to provide and maintain facilities usable by plaintiff and similarly
21
     situated persons with disabilities, and which provide full and equal access, as required
22
     by law, including appropriate changes in policy;
23
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
24
     that Defendant unlawful policies, practices, acts and omissions, and maintenance of
25
     inaccessible public facilities as complained of herein no longer occur, and cannot
26
     recur;
27

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                                                   8
                                             COMPLAINT
Case 8:25-cv-00680-JDE       Document 1     Filed 04/04/25   Page 10 of 10 Page ID #:10



 1
        3. Award to Plaintiff all appropriate damages, including but not limited to
 2
     statutory damages, general damages and treble damages in amounts within the
 3
     jurisdiction of this Court, all according to proof;
 4
        4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
 5
     costs of this proceeding as provided by law;
 6
        5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
 7
     329
 8

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10

11      6. Grant such other and further relief as this Court may deem just and proper.
12                                        ASCENSION LAW GROUP, PC
13         DATE: April 4, 2025
14                                                    /s/Pamela Tsao
15                                        Pamela Tsao, attorney for Plaintiff
16                                                MICHAEL C. KEO
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                                                  9
                                           COMPLAINT
